            Case 1:16-cv-06704-PAE-KNF Document 154 Filed 01/08/21 Page 1 of 1


                                                                              Sara E. Margolis
                                                                              MoloLamken LLP
                                                                              430 Park Avenue
                                                                              New York, NY 10022
                                                                              T: 212.607.8172
                                                                              F: 212.607.8161
                                                                              smargolis@mololamken.com
                                                                              www.mololamken.com


      January 7, 2021

      BY ECF

      Hon. Paul A. Engelmayer
      United States District Court
      Southern District of New York
      Thurgood Marshall U.S. Courthouse
      40 Foley Square
      New York, NY 10007

             Re:     Ross v. Willis et al., 16 Civ. 6704

      Dear Judge Engelmayer:

             We represent plaintiff Antoine Ross in this matter. We write to respectfully request that
      the Court permit Mr. Ross to submit a single, 50-page consolidated brief in opposition to
      defendants’ pending motions for summary judgment.

             In late December, defendants filed two motions for summary judgment. See Dkts. 146-
      52. One motion was filed by Defendant Dion Willis, Dkt. 146, while the other motion was filed
      by Defendants Sadoc Genoves and Rochaurd George, Dkt. 149.

              Pursuant to this Court’s order, Mr. Ross’s briefs opposing those two motions are due
      January 14, 2021. Dkt. 143. Under Your Honor’s Individual Rule 3.C, each opposition brief is
      limited to 25 pages. Mr. Ross respectfully requests permission to file one brief of no more than
      50 pages in opposition to defendants’ motions for summary judgment. Given the factual and
      legal overlap between certain of defendants’ arguments, Mr. Ross respectfully submits that filing
      a single 50-page brief will permit him to more efficiently address the issues raised in defendants’
      motions without duplication. Mr. Ross does not seek extra pages; he simply seeks to use the
      same 50 pages already permitted between the two opposition briefs in a single, streamlined
      filing. All defendants consent to this request.

             We thank the Court for its consideration.

Granted.                                            Respectfully submitted,

                                                           /s/ Sara E. Margolis
                PaJA.�
SO ORDERED.
                                                           Sara E. Margolis
            __________________________________
                  PAUL A. ENGELMAYER
January 8, 2021   United States District Judge
